       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Dennis Holland
        v. Commonwealth of Virginia
        Record No. 0965-12-3
        Opinion rendered by Judge Humphreys on
        October 22, 2013

    2. Traveyan Lee Chambliss
        v. Commonwealth of Virginia
        Record No. 0983-12-2
        Opinion rendered by Judge Huff on
        October 22, 2013

    3. Mark Farewell
        v. Commonwealth of Virginia
        Record No. 1572-12-2
        Opinion rendered by Judge Huff on
        October 22, 2013

    4. Darren D. Snowden
        v. Commonwealth of Virginia
        Record No. 1570-12-1
        Opinion rendered by Judge Alston on
        October 29, 2013

    5. Levin Grimes
        v. Commonwealth of Virginia
        Record No. 0293-13-1
        Opinion rendered by Judge McCullough on
        October 29, 2013

    6. Jared Benjamin Bailey
        v. Commonwealth of Virginia
        Record No. 0465-12-2
        Opinion rendered by Senior Judge Coleman on
        October 29, 2013
7. Kerry Lee Winslow
    v. Commonwealth of Virginia
    Record No. 2113-12-1
    Opinion rendered by Judge Kelsey on
    November 8, 2013
